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                       UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
 ______________________________________________________________________

 UNITED STATES OF AMERICA,                          Criminal No. 10-114 (JRT/RLE)

                                 Plaintiff,

 v.                                                 ORDER ON REPORT AND
                                                     RECOMMENDATION
 CHARLES FREDDIE THOMPSON (1),
 PATRICIA ANN THOMPSON (2),
 DARRELL LEROY THOMPSON (3),
 WILLIAM CLIFFORD BAKKEN (4),
 ROBERT ANTONY INGEBRETSON(5),
 JAMES WILLIAM BRAUN, JR. (6),


                        Defendants.
 ______________________________________________________________________



      Based upon the Report and Recommendation of the United States Magistrate

Judge Raymond L. Erickson, dated June 2, 2010, all the files and records, and no

objections having been filed to said Report and Recommendation,

      IT IS HEREBY ORDERED that the motion of Robert Ingebretson to Dismiss

the Indictment [Docket No. 112] is DENIED.




DATED: June 28, 2010
at Minneapolis, Minnesota.                     ____ s/ John R. Tunheim _____
                                                    JOHN R. TUNHEIM
                                                  United States District Judge
